Dear Secretary Carnahan:
This opinion letter responds to your request dated March 20, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Todd Jones (version 11).
We conclude that the petition must be rejected because new matter to be enacted is not underlined as required by Section 116.050, RSMo.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
  Very truly yours,
  _________________________
  Jeremiah W. (Jay) Nixon
  Attorney General *Page 1 